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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

wr rr ee ee en ee ek X-----
RODOLFO MONTER HERNANDEZ,
individually and on behalf of others similarly
situated,
Plaintiff, AFF IDAVIT OF
SERVICE
-against-

Case No. 19-ev-01257-ALC

99 THAI PLAYGROUND LLC (D/B/A
THAIMEE TABLE (F/K/A NGAM)),

INSPIRED HOSPITALITY MANAGEMENT
LLC (D/B/A THAIMEE TABLE (F/K/A NGAM)),
NGAMPROM THAIMEE (AKA HONG),

MATT BRUCK, ANDREW PIRGOUSIS,

CHAI THAIMEE, and LUIGI DOE,

Defendants.

STATE OF NEW YORK J
) $S.:
COUNTY OF NEW YORK )

FIDEL LOZANO, being duly sworn, deposes and says:

Deponent is not a party to this action and is over the age of eighteen years and resides in the State of New
York.

On October 12, 2022, I mailed copies of Judge Sarah Netburn’s. Order (Dkt. No. 140: ORDER TO SHOW
CAUSE: Plaintiffis ORDERED to serve this Order upon Defendant Ngamprom Thaimee a/k/a Hong Thaimee. Plaintiff
must undertake every effort to serve Thaimee, including without limitation: Personal service at the restaurant Thaimee
Love, located at 116 West Houston Street, New York, NY 10012; Calling Thaimee Love at (347) 325-2557 to request
assistance with service, Contacting Thaimee's in-house press contact through the website at
hitps://www.hongthaimee.com/press/By October 14, 2022, Plaintiff must file an attorney affidavit attesting to all efforts
undertaken to serve Thaimee and the results of that effort. Absent further order of the Court, by October 28, 2022,
Thaimee is ORDERED TO SHOW CAUSE why the Court should not enter default against Defendant Ngamprom
Thaimee a/k/a Hong Thaimee based on the April 3, 2019 affidavit of service and assess damages against her in
accordance with Plaintiff's Proposed Findings of Fact and Conclusions of Law and the supporting record.), via First
Class Mail through the United States Postal Service to Defendants:

HONG THAIMEE
55 W 25TH ST APT 5S
NEW YORK NY 10010-2134

HONG THAIMEE
626 IST AVE APT E40C
NEW YORK NY 10016-3938

Fidel Lozano \

Case 1:19-cv-01257-ALC-SN

Sworn to before me on this
12'" of October 2022

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Notary Public

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